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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

UNITED STATES OF AMERICA             )
                                     )
v.                                   )       Cause No. 2:17 CR 146 JVB
                                     )
ERIC KRIEG                           )

           GOVERNMENT=S SENTENCING MEMORANDUM

      Comes now the United States of America through Thomas L. Kirsch II,

United States Attorney, and makes the following arguments concerning the

defendant=s sentence.

      Title 18, United States Code, Section 3553(a) sets forth a number of

factors, including but not limited to the nature and circumstances of the offense

and the history and characteristics of the defendant; the need for the sentence

imposed to reflect the seriousness of the offense, promote respect for the law,

and provide just punishment; and the need for the sentence imposed to afford

adequate deterrence and protect the public.


      On December 4, 2018, the Defendant pleaded guilty to Counts 1, 2, 3,

and 5 of the Indictment. Count 1 charged Making an Unregistered Destructive

Device, Count 2 charged Mailing a Destructive Device, Count 3 charged

Malicious Use of Explosive Materials, and Count 5 charged Mailing a

Threatening Communication. The plea agreement was made pursuant to Rule
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11(c)(1)(C) of the Federal Rules of Criminal Procedure and the parties agreed

that the defendant should receive a sentence of twenty-nine (29) years

imprisonment. In exchange for the defendant’s guilty plea, the government

agreed to move to Court at the time of sentencing to dismiss Count 4, which

would have required the Court to impose a mandatory minimum 30-year term

of imprisonment up to a maximum of life. That term of imprisonment would

have had to be consecutive to any other term of imprisonment imposed.


      The government respectfully asks the Court to accept the agreement of

the parties and submits that a 29-year term of imprisonment is a fair and

reasonable sentence under all circumstances based on the following factors:


      I.    Nature and circumstances of the offense


      Between 2012 and August 2017, Krieg engaged in a series of online

postings and communications concerning topics including other residents of

Northwest Indiana. Through these online postings and communications, the

defendant made statements in multiple online forums, including a webpage

“blog” format that he controlled and administered. Victim 1 was an attorney

who represented an individual in a lawsuit against the defendant. That lawsuit

was filed in Superior Court in Lake County, Indiana in 2013 based upon

statements Krieg made on his blog. After the filing of the lawsuit, Krieg filed

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bankruptcy in U.S. Bankruptcy Court in the Northern District of Indiana.

Through filings made in Bankruptcy Court, Victim 1 claimed the lawsuit could

not be discharged in bankruptcy. Krieg agreed to settle the lawsuit with Victim

1’s client. The settlement required Krieg to pay Victim 1’s client $45,000 and

post an apology on his blog. Krieg paid $45,000 and made an online apology.


      In retaliation for the filing and settling of that lawsuit, Krieg devised a

plan to construct and mail a pipe bomb that he hoped and believed would kill

or injure Victim 1. Krieg constructed the pipe bomb and knew that it contained

explosives and items that would produce shrapnel.


      On September 6, 2017, Krieg placed the pipe bomb in the mail by

delivering it to the United States Post Office located at 901 East Chicago

Avenue in East Chicago, Indiana and ensuring it had the appropriate postage.

Krieg mailed the pipe bomb with the intention that it kill or injure Victim 1.

The pipe bomb exploded before it was delivered to Victim 1 and instead injured

Victim 2, a postal worker. Victim 2 was handling the package when it

detonated. Victim 2, who was pregnant at the time, suffered minor injuries

including cuts, abrasions, and bruises to her head, legs, and feet. The pipe

bomb explosion also damaged the Post Office.




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      Krieg engaged in online communications with Victim 3. On September

29, 2017, Krieg mailed a threat to kill or injure Victim 3. Krieg placed the

threatening communication in the mail and it was later delivered to Victim 3,

who lives in Northwest Indiana. The mailing contained a bullet and a message.

The bullet was wrapped in tape and had the message, “The next one will be in

the back of your head.”


      On October 12, 2017, FBI agents interviewed Krieg. He initially denied

involvement in mailing an explosive device; however, he eventually admitted

to the mailing. He told agents that he left his work at BP and traveled to the

Post Office in East Chicago, Indiana. He provided a description of what he was

wearing, which matched surveillance camera images of a person entering and

leaving the area of the Post Office and also matched multiple witnesses’

description of an individual inside the Post Office. Krieg also admitted to

manufacturing the destructive device that he mailed. In doing so, Krieg

admitted to putting together specific components of the destructive device. His

description of the destructive device he assembled matched components of the

device that were recovered from the Post Office after the explosion. Krieg

admitted to using M-80 type powder in the destructive device. Krieg also

admitted to mailing Victim 3 a threatening letter.


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      Krieg’s actions, motivated by revenge and retaliation, greatly disrupted

the lives of three victims. Victim 1 was doing his job representing a client in a

standard civil lawsuit. For doing nothing more than performing his duty as an

attorney, Krieg targeted Victim 1 and mailed a pipe bomb to his residence. Had

Krieg’s pipe bomb detonated as he planned, any member of Victim 1’s family

could have been seriously injured or killed upon opening the package. Since

Krieg’s pipe bomb did not detonate as planned, but instead detonated early,

Victim 2 was injured while she was performing her job at the Post Office.

Victim 2 was pregnant at the time but thankfully she sustained minor injuries

as a result of the detonation and her unborn child was not harmed. Krieg

mailed a bullet and a threatening letter to Victim 3, targeting him for revenge

purposes as well.


      II.   History and characteristics of the defendant


      The defendant does not have any criminal history. PSR ¶61-62. At the

time of his arrest, Krieg was living in Munster with his now ex-wife and their

four school-aged children. PSR ¶66-68. Krieg disclosed that medical staff at

the Porter County Jail diagnosed him with depression (PSR ¶70) but there

are no reports of mental health issues or treatment prior to his incarceration.

He also does not appear to have any substance abuse issues. PSR ¶71.

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      Krieg obtained his Masters Degree in Mechanical Engineering. PSR

¶72. He was employed at BP in Whiting, Indiana from August 2007 until his

arrest in October 2017. PSR ¶75.


      III.   Seriousness of the offense, respect for the law, just
             punishment, deterrence, and protection of the public


      Section 3553 requires the court to consider “the need for the sentence

imposed to reflect the seriousness of the offense, promote respect for the law,

and provide just punishment,” in addition to requiring the court to consider

“the need for the sentence imposed to afford adequate deterrence to criminal

conduct; and to protect the public from further crimes of the defendant.” A

sentence of imprisonment of 29 years will serve to deter the defendant from

future criminal behavior, in addition to deterring others from committing

similar offenses. Such a sentence will also serve as just punishment, protect

the public from the defendant, and promote respect for the law. Such a

sentence is not greater than necessary to accomplish these goals under

Section 3553.




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     IV.   Conclusion


     Wherefore, based upon the balance of all Section 3553 factors, the

government respectfully requests the Court accept the plea agreement and

sentence the defendant to a 29-year term of imprisonment.


                                   Respectfully submitted,


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                                   UNITED STATES ATTORNEY


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